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       :1
       2.
       3.
       4,


       6            SUPERIOR COURT OF THESTATE:OF WASHINGTON FOR KING COUNTY
       7
             HERBERT LUTZ,individually,
       $                                                            No. 21-2-111279:-.6SEA
       9                    Plaintiff,
                                                                    COMPLAINT
      10             vs.
      11     SAFEWAY,INC., a non-governmental
     12      corporatibn, and DOES 1-5,

     13                      Defendant;
      14
      1.5
                                                              PARTIES
     16
                     1,I,   Plaintifflierbert...Lutz:currently- reside.sin.Kirkland,.King County,'Washington:
      17
      :18            1:2.    At all material times. herein. Defendant SafeWay, Inc. bWried and ':operated the

      1.9    5afeway ;Store located at; located at 15.000 NE :24th St., :Redmond, WA 98:02 located. in

      20. Reditotid„,King County, Washington: ;Said defendant is believed to; have.paid.;a11. liCeriSes,and
      21
             'fees to date and:continues to do .business in king;County,,Washington,.
      22.
                     1.3     Parties Does 1,     am-unknown-to Plaintiffs at: -this: time and they .are therefore
      23
             stied under fictitious names. Those Dofendants:inay have. caused the: datnages:to Plaintiffs by.
      24
      .25    their own;tortious -conduct;, inCluding]acts or failures to;               individually, in:concert:

      26 :with other defendants:or.vicariously.
      27
                  14     The acts and emissions giving rise to this cause of action!occurred on the stihject.
      .28    COMPLAINT —;1                                         LAW OFFICES OF JOHN J POLETO PLiC.
                                                                                  .9 take Bellevue Dtive,Suite 200.
                                                                                              Bellevue, WA.98005!
                                                                                                   ]6125)
                                                                                          . :FAX::025)646-7112'
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                     Case 2:21-cv-01255-JCC-MLP Document 1-2 Filed 09/15/21 Page 2 of 4




                 premises, a.Safeway grocery Store owned.and operated. by the defetidatitS, located At'15:000 NE:
       2
                 24th St,.Redmond, WA.9$0.52:located iii.Redmond,.King County,: Wasliin:gton. where:defendant
       3
                 was ,corianeting iiiiiiiiiiiii
       4
                         .1..5;   :R     dittiOnanClVerine ate properin:King.COunty:Superior Court,
       5
       6                                                       IL      FACTS

       7                 2.1      Oh November, 24,2018., plaintiff:Herbert Lint Was oil the subjett premises as a

                 busineSs invitee..
       9
                        22:       Plaintiff Lutz: was.-coining around the corner of an. aisle with.his shopping -tat

                 When he .struck a box of ittlistoCked product which defendants left unattended,. .tintnatleed,
      11
      12 :'without warning            ia As'existence.
      13                 2.3      AS      teStilti-. hiiiltiff Ltitt fell fate first into: the dart hitting his: head On the
      14 • grocery cart, and also landing on his tight hip.and right shoulder,
      15
                         :2,4.    Plaintiff Lutz suffer :serious in:furies. from :this incidenf and -was; tumble to ge.t
      16
             •      after tho.falt.
      17
      18                 2.5      AS a. result, Redmond::Fire Department ENITs were called who arrived'

      19         transported i:otairitiff Lutz to Overtake Medical Center's Emergency:Department..

      20                 24       Defendant's :employee(s) were acting withiri the icourse. and. scope of their:
      21
                 employment            'times herein.
      22
                                             In.     CLAIMS AND CAUSES OF ACTION
      23
                        .3.1      As An OWrier andior. occupier of the premises.And operator or 4 grocery store;.,
      24.
      25 Defendant owed to, invitees such as plaintiff Lutz:a non-delegable duty to exercise ordinary care
      26         for their safety:, This includes the exercise Of ordinary care to maintain in 4 reasonably Safe
      27
         .Condition those portions of                premises that the Invitee is:expressly:or Impliedly to use or:might
      28 :COMPLAINT 2:                                                          LAW.bPVIcEs.OP RAN J.::POLIT0,PEW
                                                                                          9LAO Bellevue Drive, Suite 200
                                                                                                       Bellevue, WA 98005
                                                                                                          (425)646-711
                                                                                                      PO::(425)646-7112
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                Case 2:21-cv-01255-JCC-MLP Document 1-2 Filed 09/15/21 Page 3 of 4




            reasonably be expected to. use:
      2
                    3.2     Defendant was negligent and failed to exercise ordinary care in the. ci..eation,

            operation and maintenance of its store. The defendant, individually or through their agents,.

            employees, sUheb.httattOrSi Or (Abet persons Or entities, icreated the unsafe:condition by leaving

            the unstocked box ofproduct unattended on the fleor.

                    3.3     The nature. of SafeWay'S business and their. method's of:operation ,are such that

            the existence ofthis unsafe condition was.reasonably foreseeable to the defendant

     10             3.4     Defendant failed to have adequate procedtireS in place tO keep their premises .free
     iT
            from foreseeable unsafe conditions and.failed. to properly'maintain a safe premises by allowing
     12
            the box,of unstocked productto remain in a pedestrian path.
     13
     14 •           .3.5    Defendant failed to have adequate procedures in place, to adequately warn
     15 _invitees such as ;;laintiO Lutz:of the unsafe condition which caused' his fall and the resulting
     1,6
         • injuries.
     17
     18             16      Defendants :are vicaribuSly fiable for. the :negligent: acts and omissions of its

     19 employees acting within the course and scope oftheir duties
     20
                            At: ,a direct and :proximate result of defendant's negligence: and/or thcir
     21
     22 employees, both vicariously and :directly, as described Above,. plaintiff Lutz suffered serious
     23 personal injuries, incurred 'niedital bills, lost wages, pain And suffering; disability, loss of
     24. enjoyment Of life, and emotional. dWre.s.s: Additionally.. !Plaintiff rim; in the :fiittge,,. ..itiatt
     25'
            additional medical hills!arid eridUre            pain and tuffetg, disability, idsS of enjoynient
     26.
            Oflife and eriaotioriat distidtt..
     27
     28 ,COMPLAINT                                                    'ILAW,OPPICES.6Y161-N.J:Parto;PLLC:
                                                                                  Lake Bellevue Drive Suite i20.0.
                                                                                           041040, WA 9800'
                                                                                                (. 425)646-7E111
                                                                                          PAk(4i5)64641i
eeneA0159
                    Case 2:21-cv-01255-JCC-MLP Document 1-2 Filed 09/15/21 Page 4 of 4




                        3,8     All!of the!foregoing allegations of fact and law are hereby alleged and asserted:
          2.
                against: any tinknoWii, entity, hereby referred to as Defendants Does!;1 - 5. These defendants

                may have! caused .the -damages to plaintiff by their own tortious conduct, including. :acts or

                failures to act, individually; vicariously, or in concert with other defendants,, including but not

                limited: to failing to maintain the !subject:premises in a safe condition or warn of the unsafe



                                                  -IV,      REOUEST.FOR RELIEF.
         9
                        WHEREFORE,Plaintiffprays:for the:following relief!against:the:defendant asfol1owg:-
        10
                        44.1.   !Plaintiff'has inctirred nOn,ecOriomic &maga as Shalt be !Shown!.at the, time of
        11
                      including, but not limited to, :past; present and. future- pain and. suffering,.

        13      emotional!distress,and such other general.damages as:Shall:be.shown:at...trial.
        14.             4.2     Plaintiff has::alsO itidUitdd .6Cotiottlie damages,. as. shalt be- shown at the time of

                trial,: Which include, but.are!not.               past; present and ;future medical! bills, wage loss,out.
       16
                ofpocket!expense's,:mileage:and othetspecial damages or As.'Shall!Otherwise be 8hOWii at Itial;
        17
        18!             43      For all.Cb8tg, arid dightitteiteritS!',

        19'                     Pig reasonable iandactual attorney!'s.
        20.            .4:5     For pre4udgrnent and.postjudginent:interest. and
        21
                       4.6      For such further and other relief as the Court.deems Justand equitable...
        22
                        DATED this       14       day of July, 2021
       23
        24
        25
       26


       :28      COMPLAINT — 4                                                  LAW OFFICES OF JOHN J. POLITO,PELC
                                                                                          9Lake 8ellevueThiivei.Suite 200
                                                                                                     Bellevue, WA 9.8.005
                                                                                                         (
                                                                                                         . 425)6464111
                                                                                                    .- 4:k!!'(.0S)'640141
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